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6
                                UNITED STATES DISTRICT COURT
7                         FOR THE WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
8

9
     SEYYED JAVAD MAADANIAN,                              No.
10   individually and on behalf of all others
     similarly situated,
11
                                                          CLASS ACTION COMPLAINT
                                       Plaintiff,
12
                                                          JURY DEMAND
            v.
13

14
     MERCEDES-BENZ USA, LLC, a Delaware
     limited liability company; and DOES 1 through
15   10, inclusive,

16                                     Defendants.
17

18
            Plaintiff Seyyed Javad Maadanian (“Plaintiff”), individually and on behalf of all others
19
     similarly situated, by and through his counsel, brings this Class Action Complaint against
20
     Defendant Mercedes-Benz USA, LLC (“Defendant”). The action is based on personal knowledge
21
     as to matters relating to Plaintiff and his own actions, and on information and belief based on the
22
     investigation of counsel, including counsel’s review of consumer complaints available on the
23
     database of the National Highway Transportation Safety Administration (“NHTSA”) and other
24
     publicly available information.
25

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      CLASS ACTION COMPLAINT - 1                                    EMERY | REDDY, PLLC
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1                                I.       JURISDICTION AND VENUE
2           1.       This is a civil action in which the matter in controversy exceeds the sum of
3    $75,000, exclusive of interest and costs.
4           2.       Subject matter jurisdiction is proper in this Court pursuant to the Class Action
5    Fairness Act, 28 U.S.C. § 1332(d), because Plaintiff and at least one Defendant are citizens of
6    different states and satisfy the diversity requirement, and the aggregate amount in controversy
7    exceeds $5,000,000.00, exclusive of interest and costs.
8           3.       The number of Members of all putative classes alleged herein exceeds 100 in
9    number within the meaning of 28 U.S.C. § 1332(d)(5)(B).
10          4.       The primary defendants are not States, State officials, or other governmental
11   entities within the meaning of 28 U.S.C. § 1332(d)(5)(A).
12          5.       Venue is proper pursuant to 28 U.S.C. § 1391(a) because a substantial part of the
13   acts or omissions giving rise to this claim occurred in the Western District of Washington.
14          6.       This Court has supplemental jurisdiction over Plaintiff’s state law claims arising
15   under statutory or common law pursuant to 28 U.S.C. § 1367 because the claims arise from a
16   common nucleus of operative facts such that adjudication of both state and federal claims furthers
17   the interests of judicial economy.
18                                           II.    PARTIES
19          7.       Plaintiff Seyyed Javad Maadanian is an individual and is a resident of King
20   County, Washington. Plaintiff is the owner of a Class Vehicle, specifically, a 2011 Mercedes-
21   Benz ML 350, VIN # 4JGBB8GB9BA673984 (the “Vehicle”).
22          8.       Defendant Mercedes-Benz USA, LLC is a Delaware limited liability company
23   with its principal place of business located in Sandy Springs, Georgia.
24          9.       All acts and omissions of Defendant’s employees, agents, associates, partners,
25   parents, or subsidiaries as alleged herein occurred while they were acting within the course and
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1    scope of their duties and Defendant is therefore responsible to Plaintiff under the doctrine of
2    Respondeat Superior and/or other doctrines.
3           10.        Plaintiff is unaware of the true names or capacities of the Defendants sued herein
4    as DOES 1 through 10, (“Doe Defendants”), and therefore sues said Doe Defendants by such
5    fictitious names. Plaintiff will seek leave of Court to amend this Complaint to insert the true
6    names and capacities of such Doe Defendants when such information has been obtained. Plaintiff
7    is informed and believes, and based on such information and belief alleges, that each of the
8    fictitiously named Doe Defendants participated in some way in the wrongful acts and omissions
9    alleged herein.
10                                   III.   FACTUAL BACKGROUND
11          11.        Defendant is one of the world’s largest and most well-known manufacturers of
12   luxury automobiles.
13          12.        Defendant designed its ML-Class, GL-Class and R-Class Mercedes vehicles
14   produced from 2006 through 2012 (the “Class Vehicles”) with defective brake booster housings
15   (the “Class Defect”).
16          13.        By Defendant’s own admission, the Class Defect causes abnormal and premature
17   corrosion, which inevitably causes the vehicles to brake unsafely, or not at all.
18          14.        Defendant first leased his Vehicle for three years beginning in or about 2010 from
19   Mercedes Benz of Seattle, and purchased his Vehicle from the dealership following the lease
20   expiration.
21          15.        Upon information and belief, Defendant received complaints about reduced
22   braking in its vehicles as early as 2006 and consistently through the date of this Complaint.
23          16.        In July 2021, Defendant’s engineers tested brake boosters from multiple of its
24   vehicles to confirm corrosion from moisture had collected under rubber sleeves installed around
25   the brake booster housings used for aesthetic reasons.
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1            17.    On May 12, 2022, Mercedes began warning vehicle owners of 292,287 ML-Class,
2    GL-Class and R-Class Mercedes vehicles produced from 2006 through 2012 to cease driving their
3    vehicles until repairs to the brake boosters could be made.
4            18.    In a voluntary “Do Not Drive Recall” (the “Recall”) issued by Defendant, it stated
5    that:
6                   After extended time in the field and in conjunction with water
                    exposure, the corrosion might lead to a leakage of the brake booster.
7
                    Leakage in the brake booster could lead to reduced braking power
8
                    and an increase in the brake pedal forces required to slow the vehicle
                    and/or to potentially increased stopping distances.
9
             19.    In the same Recall, Defendant stated further:
10
                    Additionally, in rare cases of very severe corrosion, a particularly
11                  strong or hard braking maneuver could cause mechanical damage in
12
                    the brake booster, whereby the connection between the brake pedal
                    and brake system would fail. In such a rare case, it would not be
13                  possible to slow or stop the vehicle via the service brake.

14           20.    On Friday, May 13, 2022, Plaintiff learned that his vehicle might be part of the

15   Recall and visited the NHTSA’s website to learn more about it.

16           21.    On the same day, Plaintiff confirmed that his vehicle was affected by the recall

17   and that he was unable to drive it safely.

18           22.    Plaintiff immediately parked the car and ceased using it.

19           23.    Plaintiff spent several hours researching his options and called his local Mercedes

20   dealership.

21           24.    Plaintiff requested from dealership personnel a loaner vehicle or reimbursement

22   of the cost for a rental vehicle, and he requested towing to the dealership or reimbursement for

23   the cost of towing. Plaintiff’s requests were denied.

24           25.    Plaintiff was told that Mercedes would do nothing to assist him and that he should

25   park the car indefinitely and cease driving it immediately.

26           26.    Plaintiff is presently unable to drive his vehicle, has no options for repairing it, and

27   must seek alternative transportation at his own time and expense.
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1            27.    Plaintiff and those similarly situated did not receive the benefit of their bargain
2    because they purchased or leased a vehicle of a lesser standard, grade, and quality than
3    represented, and did not receive a vehicle that met ordinary and reasonable consumer expectations
4    regarding safe and reliable operation.
5            28.    Simply put, a vehicle that does not safely brake or does not brake at all is neither
6    safe nor dependable and is worth less on the resale market than a comparative vehicle with these
7    attributes.
8            29.    Defendant marketed the Class Vehicles as safe and dependable, but failed to timely
9    disclose the existence and impact of the Class Defect and that the Class Vehicles were not safe or
10   dependable.
11           30.    Upon information and belief, Defendant knowingly, affirmatively, and actively
12   misrepresented and concealed the true character, quality, and nature of the Class Vehicles such
13   that Plaintiff and the Class and Washington Subclass members were unaware that they had
14   purchased vehicles that were diminished in value due to the Material Defect.
15           31.    Upon information and belief, Defendant knowingly, affirmatively, and actively
16   misrepresented and concealed the existence of the Class Defect.
17           32.    Defendant knew or should have been aware of the Class Defect as early as 2006,
18   but failed to inform Plaintiff and the Class and Washington Subclass members of the Class Defect.
19           33.    At the time the Class Vehicles were delivered to Plaintiff and those similarly
20   situated, they were not in a merchantable condition, were not safe, did not conform to the quality
21   and safety guidelines reasonably expected of a motor vehicle, and were worth significantly less
22   than the amount the Plaintiff and those similarly situated paid for the Class Vehicles.
23           34.    Defendant also had a duty to pay for the expense of towing, repairs, and alternative
24   transportation for Plaintiff and the Class and Washington Subclass members, but failed in that
25   duty, refusing to timely provide loaner or rental vehicles, pay for or reimburse for towing
26   expenses, and pay for necessary repairs.
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1           35.     Plaintiff and those similarly situated have suffered damage as a result of
2    Defendant’s wrongful conduct. This is an action to obtain a class-wide remedy for Defendant’s
3    wrongful conduct.
4                        IV.     TOLLING OF STATUTE OF LIMITATIONS
5           36.     Discovery Rule. Plaintiff’s claim accrued upon discovery of the Class Defect to
6    his Class Vehicle. While Defendant knew or should have known about the Class Defect, Plaintiff
7    and Class and Washington Subclass members could not and did not discover this fact through
8    reasonable diligent investigation.
9           37.     Active Concealment Tolling. Any statutes of limitations are tolled by Defendant’s
10   knowing and concealment of the Class Defect on Class Vehicles. Defendant kept Plaintiff and all
11   Class and Washington Subclass members ignorant of vital information essential to the pursuit of
12   their claim, without any fault or lack of diligence on the part of Plaintiff, the Class, and the
13   Washington Subclass. The details of Defendant’s efforts to conceal its above-described unlawful
14   conduct are in its possession, custody, and control, to the exclusion of Plaintiff and the Class and
15   Washington Subclass members and await discovery. Plaintiff and Class and Washington Subclass
16   members could not reasonably have discovered the Class Defect in their Class Vehicles except
17   upon a sudden failure of the brakes on their Class Vehicles.
18          38.     Estoppel. Defendant was and is under a continuous duty to disclose to Plaintiff and
19   the Class and Washington Subclass members the true character, quality, and nature of the brakes
20   in and breaking ability (or inability) of the Class Vehicles. At all relevant times, and continuing
21   to the date of this Complaint, Defendant knowingly, affirmatively, and actively misrepresented
22   and concealed the true character, quality, and nature of the Class Defect of the Class Vehicles.
23   The details of Defendant’s efforts to conceal its above-described unlawful conduct are in its
24   possession, custody, and control, to the exclusion of Plaintiff and Class and Washington Subclass
25   members and await discovery. Plaintiff and the Class and Washington Subclass members
26   reasonably relied upon Defendant’s affirmative misrepresentations and knowing, affirmative,
27
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1    and/or active concealment. Based on the foregoing, Defendant is estopped from relying upon any
2    statutes of limitation in defense of this action.
3            39.     Equitable Tolling. Defendant took active steps to conceal the fact that it
4    wrongfully, improperly, illegally, and repeatedly manufactured, marketed, distributed, sold,
5    and/or leased Class Vehicles with the Class Defect. The details of Defendant’s efforts to conceal
6    its above-described unlawful conduct are in its possession, custody, and control, to the exclusion
7    of Plaintiff and Class and Washington Subclass members and await discovery. When Plaintiff
8    learned about this material information, he exercised due diligence by thoroughly investigating
9    the situation, retaining counsel, and pursuing his claims. Defendant fraudulently concealed its
10   above-described wrongful acts. Should such be necessary, therefore, all applicable statutes of
11   limitation are tolled under the doctrine of equitable tolling.
12                              V.      CLASS ACTION ALLEGATIONS
13           40.     Plaintiff brings this lawsuit as a class action on behalf of himself and all other
14   Class members similarly situated pursuant to Federal Rules of Civil Procedure, Rule 23. This
15   action satisfies the numerosity, commonality, typicality, adequacy, predominance, and superiority
16   requirements of those provisions.
17           41.     The Class is defined as: All Persons in the United States who purchased or leased
18   ML-Class, GL-Class and R-Class Mercedes vehicles produced from 2006 through 2012 (the
19   “Class Vehicles”). Excluded from the Class are: (1) Defendant, any entity or division in which
20   Defendant has a controlling interest, and its legal representatives, officers, directors, assigns, and
21   successors; (2) the Judge to whom this case is assigned and the Judge’s staff; and (3) those persons
22   who have suffered personal injuries as a result of the facts alleged herein.
23           42.     Plaintiff also brings this action on behalf of a Washington Subclass, defined as
24   follows: All Persons in Washington who purchased or leased ML-Class, GL-Class and R-Class
25   Mercedes vehicles produced from 2006 through 2012 (the “Class Vehicles”). Excluded from the
26   Washington Subclass are: (1) Defendant, any entity or division in which Defendant has a
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1    controlling interest, and its legal representatives, officers, directors, assigns, and successors; (2)
2    the Judge to whom this case is assigned and the Judge’s staff; and (3) those persons who have
3    suffered personal injuries as a result of the facts alleged herein.
4           43.       Plaintiff reserves the right to amend the Class definition.
5           44.       Plaintiff reserves the right to establish additional subclasses as necessary to
6    conform to the facts.
7           45.       There is a well-defined community of interest, and the class is readily
8    ascertainable.
9           46.       Numerosity. By Defendant’s own admission, there are at least 292,287 Class
10   members, all of whom can be ascertained through appropriate discovery. This number is great
11   enough such that joinder is impracticable. The disposition of the claims of these Class members
12   in a single action will provide substantial benefits to all parties and to the Court. The Class
13   members are readily identifiable from information and records in Defendant’s possession,
14   custody, or control, as well as from records kept by the Department of Motor Vehicles.
15          47.       Ascertainability. Class members are readily identifiable from information in
16   Defendant’s possession, custody, or control.
17          48.       Typicality. The claims of the representative, Plaintiff Maadanian, are typical of the
18   claims of the Class in that the representative, like all Class members, purchased and/or leased a
19   Class Vehicle designed, manufactured, and distributed by Defendant. The representative, like all
20   Class members, has been damaged by Defendant’s misconduct in that he has incurred the
21   diminution of value of his vehicle, the costs in connection with the repairs of his vehicle, and the
22   lost time and resources in connection with those repairs. Furthermore, the factual bases of
23   Defendant’s misconduct are common to all Class members and represent a common thread of
24   deliberate, unlawful, and negligent misconduct resulting in injury to all Class members.
25          49.       Adequacy. Plaintiff will fairly and adequately protect the interests of each Class
26   Member. Plaintiff acknowledges he has an obligation to make known any relationship, conflicts,
27
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1    or differences with any Class member. Plaintiff’s attorneys are well-versed in the rules governing
2    class action discovery, certification, and settlement. Plaintiff has incurred and will continue to
3    incur costs and attorneys’ fees to prosecute the action for the benefit of each Class member.
4           50.     Commonality. There are numerous questions of law and fact common to Plaintiff
5    and the Class that predominate over any question affecting only individual Class members. These
6    common legal and factual issues include the following:
7                    a. Whether the Class Vehicles suffer from the Class Defect;
8                    b. Whether the Class Defect constitutes an unreasonable safety risk;
9                    c. Whether the Class Vehicles are merchantable or fit for their intended purpose;
10                   d. Whether the Class Vehicles are in safe condition and substantially free of
11                       defects;
12                   e. Whether a reasonable consumer would consider the Class Defect or its
13                       consequences to be material;
14                   f. Whether Defendant should be declared financially responsible for notifying
15                       all Class members of the problems with the Class Vehicles and for the costs
16                       and expenses of repair and replacement of the Class Vehicles; and
17                   g. Whether Class members have suffered loss as a result of the Class Defect, and
18                       to what extent Defendant is obligated to compensate the Class members for
19                       any and all losses, including but not limited to the time and expense of
20                       facilitating necessary repairs.
21          51.     Predominance and Superiority. Plaintiff and the Class members have all suffered
22   and will continue to suffer harm and damages as a result of Defendant’s unlawful and wrongful
23   conduct. A class action is superior to other available methods for the fair and efficient adjudication
24   of the controversy. Absent a class action, most Class members would likely find the cost of
25   litigating their claims prohibitively high and would therefore have no effective remedy at law.
26   Because of the relatively small size of the individual Class members’ claims, it is likely that only
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1    a few Class members could afford to seek legal redress for Defendant’s misconduct. Absent a
2    class action, Class members will continue to incur damages, and Defendant’s misconduct will
3    continue without remedy. Class treatment of common questions of law and fact would also be a
4    superior method to multiple individual actions or piecemeal litigation in that class treatment will
5    conserve the resources of the courts and the litigants and will promote consistency and efficiency
6    of adjudication.
7                                     VI.    CAUSES OF ACTION
8                                     FIRST CAUSE OF ACTION
                                              NEGLIGENCE
9                       On Behalf of Plaintiff and the Class and Against Defendant
10           52.    Plaintiff incorporates by reference all foregoing factual allegations.

11           53.    Defendant owed Plaintiff and the Class a duty to timely provide thorough notice

12   of known safety defects, such as the Class Defect, including providing a warning that the defective

13   vehicles should not be driven until an appropriate repair procedure is developed and performed.

14   Defendant also owed Plaintiff and the Class a duty, once it discovered the Class Defect, to ensure

15   that an appropriate repair procedure was developed and made available to drivers.

16           54.    Defendant owed a duty to Plaintiff and the Class a not to engage in deceptive

17   conduct, including the knowing omission of material information such as the existence of the

18   Class Defect. This duty is independent of any contractual duties Defendant may owe or have

19   owed.

20           55.    Defendant also owed an independent duty to Plaintiff and the Class to disclose the

21   Class Defect under the TREAD Act, 49 U.S.C. §§ 30101, et seq., and its implementing

22   regulations. Defendant is required to send notice to owners, purchasers, and dealers of Class

23   Vehicles whenever it “learns the vehicle or equipment contains a defect and decides in good faith

24   that the defect is related to motor vehicle safety.” 49 U.S.C. §§30118(c). Defendant was aware of

25   the Class Defect for potentially years before notifying vehicle owners, purchasers, and dealers

26   about the Class Defect. This duty is independent of any contractual duties Defendant may owe or

27   have owed.
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1            56.    Defendant also had a duty to timely notify the National Highway Traffic Safety
2    Administration (NHTSA) of the Class Defect. Defendant was aware of the Class Defect for
3    potentially years before notifying NHTSA. This duty is independent of any contractual duties
4    Defendant may owe or have owed.
5            57.    Defendant had a duty to provide Class Vehicle owners with substitute
6    transportation (or reimbursement of the cost of substitute transportation) for the duration of
7    repairs to Class Vehicles.
8            58.    Defendant had a duty to transport the Class Vehicles to repair sites, or to reimburse
9    owners for the cost of such transportation.
10           59.    Defendant had a duty to communicate a plan of action to repair the Class Vehicles,
11   rather than simply telling owners to cease driving their vehicles.
12           60.    A finding that Defendant owed a duty to Plaintiff and the Class would not
13   significantly burden Defendant. Defendant has the means to efficiently and timely notify drivers
14   of the Class Vehicles about dangerous defects, rather than delay such notification. The cost borne
15   by Defendant for these efforts is insignificant in light of the dangers posed to Plaintiff and the
16   Class by Defendant’s failure to timely disclose the Class Defect and provide a reasonable plan to
17   timely repair the Class Vehicles.
18           61.    Defendant failed to disclose and deceptively concealed the Class Defect to the
19   NHTSA, Plaintiff, and other drivers of Class Vehicles, and failed to provide appropriate notice of
20   and repair procedures for the Class Defect. Defendant departed from the reasonable standard of
21   care and breached its duties to Plaintiff and other drivers of the Class Vehicles.
22           62.    Defendant’s conduct was morally blameworthy. It knew about the Class Defect
23   and knew it was dangerous. Yet, it concealed it, placing drivers of Class Vehicles at unnecessary
24   risk.
25           63.    Defendant’s conduct was contrary to public policy favoring the disclosure of
26   defects that may affect customer safety and the prevention of accidents, injuries, and deaths due
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1    to defective automobiles. These policies are embodied in the TREAD Act, 49 U.S.C. § 30101,
2    and defect notifications provisions of 49 C.F.R. § 573.1, et seq.
3           64.      As a direct, reasonably foreseeable, and proximate result of Defendant’s failure to
4    exercise reasonable care, timely inform Plaintiff and the Class members of the Class Defect,
5    provide appropriate repair procedures for the Class Defect, and provide alternative transportation
6    during those repairs, Plaintiff and the Class members have suffered damages in that they spent
7    more money on Class Vehicles and related purchases than they otherwise would have, are left
8    with Class Vehicles that cannot be safely driven and which are of diminished value, and must
9    bear the cost of transportation, towing and repairs in connection with repairing the Class Defects.
10          65.      Plaintiff and the Class seek to recover their damages from caused by Defendant.
11                                SECOND CAUSE OF ACTION
            VIOLATION OF THE WASHINGTON CONSUMER PROTECTION ACT
12           On Behalf of Plaintiff and the Washington Subclass and Against Defendant
13          66.      Plaintiff incorporates by reference all foregoing factual allegations.

14          67.      Plaintiff and Washington Subclass members are “persons” within the meaning of

15   the Washington Consumer Protection Act (“CPA”), Wash. Rev. Code § 19.86.010(1).

16          68.      Plaintiff incorporates by reference all foregoing factual allegations.

17          69.      Plaintiff and Washington Subclass members are “persons” within the meaning of

18   the Washington Consumer Protection Act (“CPA”), Wash. Rev. Code § 19.86.010(1).

19          70.      Defendant is a “person” within the meaning of the CPA, Wash. Rev. Code §

20   19.86.010(1), and conducts “trade” and “commerce” within the meaning of Wash. Rev. Code §

21   19.86.010(2).

22          71.      Defendant engaged in unfair acts or practices by engaging in a pattern and practice

23   of: (i) failing to disclose its Class Vehicles, and the braking systems on such Class Vehicles, were

24   not of a particular standard, quality, or grade; (ii) failing to disclose, at and after the time of

25   purchase or lease and repair, any and all known material defects or material nonconformity of the

26   Class Vehicles, including the Material Defect; (iii) failing to disclose at the time of purchase or

27   lease that the Class Vehicles, including the braking systems of the Class Vehicles, were not in
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1    good working order, were defective, and were not fit for their intended purpose; (iv) failing to
2    give adequate warnings and notices regarding the use, defects, and problems with the Class
3    Vehicles’ braking systems to customers and consumers who purchased and/or leased said Class
4    Vehicles, despite the fact that Defendant possessed prior knowledge of the inherent defects to the
5    Class Vehicles’ braking systems; (v) failing to disclose, either through warnings or recall notices,
6    and/or actively concealed the fact that the Class Vehicles’ braking systems were defective, despite
7    the fact that Defendant learned of such defects through consumer complaints potentially years
8    prior to any public notice of the Class Defect; (vi) causing Plaintiff and Washington Subclass
9    members to expend sums of money at its dealerships to repair and/or replace the Class Vehicles’
10   braking systems, despite Defendant’s knowledge of the Class Defect; and (vii) causing Plaintiff
11   and the Washington Subclass to expend sums of money for towing costs and rental cars as a result
12   of the effect of the Class Defect on the Class Vehicles such that the Class Vehicles could not be
13   driven safely.
14          72.       Defendant’s systematic practice of failing to disclose defects in the Class Vehicles,
15   failing to give adequate warnings regarding defects with the Class Vehicles, and failing to repair
16   the Class Vehicles’ braking systems are unfair because these acts or practices offend public policy
17   as it has been established by statutes, regulations, the common law or otherwise, including, but
18   not limited to, the public policy established by Wash. Rev. Code § 19.230.005.
19          73.       Defendant’s systematic practice of failing to disclose defects in the Class Vehicles,
20   failing to give adequate warnings regarding defects with the Class Vehicles’ braking systems, and
21   failing to repair the Class Vehicles are unfair because these acts or practices: (1) cause substantial
22   financial injury to Plaintiff and Washington Subclass members; (2) are not outweighed by any
23   countervailing benefits to consumers or competitors; and (3) are not reasonably avoidable by
24   consumers.
25          74.       Defendant’s unfair acts and practices affect the public interest. The unfair acts and
26   practices were committed in the general course of Defendant’s business and have already injured
27
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1    hundreds of thousands of individuals in Washington and nationwide. There is a likelihood that
2    Defendant’s practices will injure other members of the public.
3            75.       As a direct and proximate result of Defendant’s unfair acts or practices, Plaintiff
4    and the Washington Subclass suffered injury in fact and lost money. Defendant’s unfair or
5    deceptive acts or practices resulted in Plaintiff and the Washington Subclass: (i) expending out-
6    of-pocket monies for repairs of the Class Vehicles, rental cars, and towing costs; (ii) the failure
7    of consideration in connection with and/or difference in value arising out of the variance between
8    the Class Vehicles as warranted and the Class Vehicles containing the Class Defect; and (iii) the
9    diminution of resale value of the Class Vehicles resulting from the Class Defect.
10           76.       Plaintiff and the Washington Subclass are therefore entitled to legal relief against
11   Defendant, including recovery of actual damages, treble damages, attorneys’ fees, costs of suit,
12   and such further relief as the Court may deem proper.
13           77.       Plaintiff and the Washington Subclass are also entitled to injunctive relief in the
14   form of an order prohibiting Defendant from engaging in the alleged misconduct and such other
15   equitable relief as the Court deems appropriate, including, but not limited to, disgorgement, for
16   the benefit of Plaintiff and the Washington Subclass members, of all or part of the ill-gotten profits
17   Defendant received from the failure to disclose defects with Class Vehicle braking systems.
18                                         VII.    JURY DEMAND
19           Plaintiff and the Class and Washington Subclass hereby demand a trial by jury on all
20   issues of fact.
21                                     VIII. PRAYER FOR RELIEF
22           WHEREFORE, Plaintiff and the Class and Washington Subclass pray for judgment
23   against Defendant as follows:
24           1.        An order certifying the proposed Class and Washington Subclass, and appointing
25   Plaintiff and his counsel to represent the Class and Washington Subclass members;
26           2.        An order awarding Plaintiff and the Class and Washington Subclass members their
27
      CLASS ACTION COMPLAINT - 14                                      EMERY | REDDY, PLLC
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1    actual damages, exemplary damages, and/or any other form of monetary relief provided by law;
2              3.   An order awarding Plaintiff and the Class and Washington Subclass members
3    restitution, disgorgement, or other equitable relief as the Court deems proper;
4              4.   An order requiring Defendant to adequately disclose and repair the Class Defect;
5              5.   An order awarding Plaintiff and the Class and Washington Subclass members pre-
6    judgment and post-judgment interest as allowed under the law;
7              6.   An order awarding Plaintiff and the Class and Washington Subclass members their
8    reasonable attorney fees and costs of suit, including expert witness fees; and
9              7.   An order awarding such other and further relief as this Court may deem just and
10   proper.
11

12   DATED this 16th day of May 2022.                     Respectfully Submitted,
13
                                                          /s/ Timothy W. Emery
14                                                        /s/ Patrick B. Reddy
15
                                                          TIMOTHY W. EMERY
                                                          WSBA No. 34078
16                                                        PATRICK B. REDDY
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